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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES - GENERAL

    Case No. 5:22−cv−02094−MWF−MAA                   Date       July 5, 2024

    Title        IVAN WARREN V. COUNTY OF SAN BERNARDINO ET AL




   PRESENT: THE HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE
                   Rita Sanchez                             Not Reported;
                 Courtroom Deputy                           Court Reporter

       Attorney(s) Present for Plaintiff(s):     Attorney(s) Present for Defendant(s):
                 None Present                                None Present


   PROCEEDINGS (IN CHAMBERS): COURT ORDER


        In light of the Notice of Settlement filed 7/3/2024, the Court sets a hearing on
    Order To Show Cause Re Dismissal for August 26, 2024 at 11:30 AM. If a stipulated
    dismissal is filed prior to this date, the matter will be taken off calendar and no
    appearance is needed. All other hearings and deadlines are hereby vacated.

            IT IS SO ORDERED.




                                                                  Initials of Clerk: rs




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